  Case 2:18-cr-00050-LGW-BWC Document 68 Filed 12/03/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,

        v.                                                  CASE NO.: 2:18-cr-50

 JERMAINE TYRONE FULLER,

                Defendant.



                                     DETENTION ORDER

       The Court held an Initial Appearance and Arraignment in this case on November 29, 2018.

At that hearing, all parties agreed that because Defendant is being held without bond on charges

pending in another court, he would remain in custody on those charges until resolution of those

charges even if this Court were to find that he qualifies for pre-trial release in the instant case.

Thus, the issue of pre-trial release is moot, as defense counsel recognized at the Initial Appearance

and Arraignment. In the event of a change in circumstances such that Defendant wants to invoke

his right to a detention hearing under 18 U.S.C. § 3142, defense counsel must notify the Court by

filing an application for bond.

       Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall

be afforded a reasonable opportunity for private consultation with defense counsel. On order of a

court of the United States or on request of any attorney for the Government, the person in
  Case 2:18-cr-00050-LGW-BWC Document 68 Filed 12/03/18 Page 2 of 2



charge of the corrections facility shall deliver Defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.

       SO ORDERED, this 3rd day of December, 2018.




                                    BENJAMIN W. CHEESBRO
                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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